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                                                        Case No. 3:23-cv-03461-TLT
                       PLAINTIFFS’ REQUEST FOR JUDICIAL NOTICE
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 8                             UNITED STATES DISTRICT COURT
                             DISTRICT OF NORTHERN CALIFORNIA
 9
                                  SAN FRANCISCO DIVISION
10

11 COURTNEY MCMILLIAN and RONALD                           Case No. 3:23-cv-03461-TLT
   COOPER, on behalf of themselves and all others
12
   similarly situated,
13                                                         PLAINTIFFS’ REQUEST FOR
                   Plaintiffs,                             JUDICIAL NOTICE
14
          v.
15                                                         Honorable Trina L. Thompson
   X CORP., f/k/a/ TWITTER, INC.,
16
   X HOLDINGS, ELON MUSK, Does,                            DATE: April 23, 2024
17                                                         TIME: 2:00 pm PT
                   Defendants.                             LOCATION: Courtroom 09
18
                                                           Opposition filed: February 9, 2024
19

20

21          Plaintiffs Courtney McMillian and Ronald Cooper, on behalf of themselves and all others
22 similarly situated, submit this Request for Judicial Notice. Plaintiffs request that the Court take

23 judicial notice of documents filed with the U.S. Securities and Exchange Commission (SEC):

24              1. Form 8-K and attached Merger Agreement filed by Twitter, Inc. with the SEC,
25                 dated April 25, 2022, attached as Exhibit A; and
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 1              2. Form S-1, Exhibit 10.10 (“Twitter, Inc. Change of Control and Involuntary
 2                  Termination Protection Policy”), filed with the SEC on Oct. 3, 2013, attached as
 3                  Exhibit B.
 4          For adjudicative facts that “can be accurately and readily determined from sources whose
 5 accuracy cannot reasonably be questioned,” the court “must take judicial notice if a party requests

 6 it and the court is supplied with the necessary information.” Fed. R. Evid. 201(b)(2), (c)(2). The

 7 documents listed above are publicly available documents filed with the SEC and their authenticity

 8 cannot be challenged. See, e.g., Metzler Inv. GMBH v. Corinthian Colls., Inc., 540 F.3d 1049, 1064

 9 (9th Cir. 2008) (judicial notice of publicly available financial documents including SEC filings

10 was proper at motion to dismiss stage); Dreiling v. Am. Exp. Co., 458 F.3d 942, 946 (9th Cir. 2006)

11 (SEC filing subject to judicial notice). This Court may also take judicial notice of the contents of

12 the Merger Agreement, attached to Twitter’s April 25, 2022 Form 8-K (Exhibit A), because it was

13 alleged in Plaintiffs’ complaint. Dkt. 13, Amended Class Action Complaint ¶¶ 8, 40-48. A district

14 court may consider documents “whose contents are alleged in a complaint and whose authenticity

15 no party questions, but which are not physically attached to the [plaintiff’s] pleading.” In re Silicon

16 Graphics Inc. Sec. Litig., 183 F.3d 970, 986 (9th Cir. 1999).

17          For these reasons, Plaintiffs’ Request for Judicial Notice must be granted.
18
     DATED: February 9, 2024                               Respectfully submitted,
19

20                                                         Sanford Heisler Sharp, LLP

21                                                         By:_________________________
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 1                                    CERTIFICATE OF SERVICE
 2           I hereby certify that on February 9, 2024, I electronically filed the foregoing with the Clerk
 3 of the Court using the CM/ECF system, which will send a copy of this filing to all counsel of

 4 record.

 5

 6 DATED: February 9, 2024                                  _____________________
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11                                                          and the Potential Class

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28                                               Case No. 3:23-cv-03461-TLT
     PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER
                    PARTY’S MATERIAL SHOULD BE SEALED
                                    4
